Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 1 of 59

Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern District of Texas

Q)

Case number 25-20076

(if known)

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical
information

Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a

new Summary and check the box at the top of this page.

Ca Summarize Your Assets

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
1a: Copy line:55, Total real estate; (Ort SCHOGUIG ANB issicsssisccsasiccsncasisnisinvsiscsenscesinusasensctissinenanimeisicistaanseuisiederaveusssTasaTsss $44,750.00
1b. Copy line 62, Total personal property, from Schedule A/B.u.........ccccccecccsesscsesssessscessecscussscesecsssecessscessssecesscsesetscsasscsesecaneses $376,616.99
ic; Copy ine 63, Total of all property'on Schedile A/Bis. 2:c<cs cues encanta $421,366.99
EERE summarize Your Liabilities
Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D....... $80,733.09
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F........00..c0cccces ete $49,719.74
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F..............ccccccceeeeeeees + $361,275.07
Your total liabilities $491,727.90
Ce Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule 1..................:.cssesceseeseseeeceseeescencesesesceacesesasacesesaeeneeeesesaeees $2,662.61
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule Joo... .cccccecscseeeceseeseseeceeeenseseeceecsesenetavseeetseeseaveceeenees $2,890.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 1 of 2
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Debtor 1 Ernesto Garcia
First Name Middle Name Last Name

eee Answer These Questions for Administrative and Statistical Records

Case number (if known) 25-20076

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

(] No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

wi Yes

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(J Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

$1,542.60

Total claim

9a. Domestic support obligations (Copy line 6a.) $0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $49,719.74
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $0.00
9d. Student loans. (Copy line 6f.) $0.00
9e.Obligations arising out of a separation agreement or divorce that you did not report as priority $0.00
claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) $0.00
9g. Total. Add lines 9a through 9f. $49,719.74
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 3 of 59

meme eam

Debtor 1 Ernesto Garcia

First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Southern District of Texas

Case number 25-20076 Check if this is an

amended filing

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

Ea Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

‘Ts Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

L-] No. Go to Part 2.
Mi Yes. Where is the property?

What is the property? Check all that apply.

1.1. Blueberry Hill Bik. 12 Lot 12A A Single-family home

1815AC (N 4/2 Pt Lot 12) () Duplex or multi-unit building
( Condominium or cooperative

Current value of the Current value of the

Street address, if available, or other ‘
description A — or mobile home entire praperty? Bartel you wee?
174-B Veltri St. () Investment property $44,750.00 $44,750.00
C) Timeshare
Beeville, TX 78102 Describe the nature of your ownership interest
: : C) Other (such as fee simple, tenancy by the entireties, or
os “ ZIP Code who hes an interest in the property? Check one. 2 life estate), if known.
Bee Mi Debtor 1 only Homestead
County (_) Debtor 2 only
() Debtor 1 and Debtor 2 only Cj Check if this is community property
() At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

2: Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $44,750.00
you have attached for Part 1, Write that mummber here ooo... ccc cseessssessusuessuusesesnseus cocesensassecsessecseceessenenecenearees :

iu Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

8. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

LJ No
Mi Yes

Official Form 106A/B Schedule A/B: Property page 1
Case 25-20076

Debtor Garcia , Ernesto

3.1 Make: Nissan
Model: Van
Year: 2014

Approximate mileage:

Other information:

Source of Value: Debtor
Vehicle used for dba

Who has an interest in the property? Check one.

MM Debtor 1 only

() Debtor 2 only

(J Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

L) Check if this is community property (see
instructions)

If you own or have more than one, describe here:

3.2 Make: Mazda _

Model: CXS

Year: 2023
36000

Approximate mileage:

Other information:

Source of Value: J.D. Power
Legal title under debtors
name but the vehicle
belongs to his ex wife. The
ex wife has been making the
payments since the
purchase of the vehicle. full
balance is 25,183.09 and
vehicle value is 19,750.00.

3.3 Make: RV
Model:
Year: 1996

Approximate mileage:

Other information:

RV not in working condition
and is used for storage

3.4 Make: Chevrolet
Model: Silverado
Veni 2020
140000

Approximate mileage:

Other information:

Official Form 106A/B

Who has an interest in the property? Check one.

Wf Debtor 4 only

() Debtor 2 only

() Debtor 1 and Debtor 2 only

() At least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
Mi Debtor 1 only

() Debtor 2 only

() Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
M4 Debtor 1 only

() Debtor 2 only

L) Debtor 1 and Debtor 2 only

L] At least one of the debtors and another

L] Check if this is community property (see
instructions)

Schedule A/B: Property

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Case number (if known) 25-20076

Current value of the Current value of the

entire property? portion you own?
$4,000.00 $4,000.00

Current value of the

Current value of the

entire property? portion you own?
$0.00 $0.00

Current value of the

Current value of the
entire property? portion you own?
$100.00 $100.00

Current value of the

Current value of the
entire property? portion you own?
$21,775.00 $21,775.00

page 2
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 5 of 59

Debtor Garcia , Ernesto Case number (if known) 25-20076

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Mi No
L) Yes
4.1 Make: Who has an interest in the property? Check one.
() Debtor 1 only
Model: ———._ 7 Debtor 2 only !
Year: = oe ne aanetner Current value of the Current value of the
entire property? portion you own?

Diet rape () Check if this is community property (see

instructions)

| 5. Add the dollar value of the portion you own for all of your entries from Part 2, ae acti any entries for pages $25,875.00
you have attached for Part 2. Write that number here ....... eee DP Ja

ies eS Describe Your Personal and Household items |

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

}] No
Mi Yes. Describe. .........

See Attached. $1,140.00

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

LL) No
Mi Yes. Describe. .........

See Attached. $2,350.00 |

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
baseball card collections; other collections, memorabilia, collectibles

Mi No

() Yes. Describe. .........

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
kayaks; carpentry tools; musical instruments

Mi No |

() Yes. Describe. .........

Official Form 106A/B Schedule A/B: Property page 3
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 6 of 59

Debtor Garcia , Ernesto Case number (if known) 25-20076

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

Wi No

LJ Yes. Describe. .........

41. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

L) No
Mi Yes. Describe. .........

See Attached. $1,500.00 |

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
silver

Mi No

() Yes. Describe. .........

13. Non-farm animals
Examples: Dogs, cats, birds, horses

Mj No

LJ Yes. Describe. .........

14. Any other personal and household items you did not already list, including any health aids you did not list

MI No

L) Yes. Give specific
information. .............

15. Add the dollar value of all of your entries from Part 3, a any entries for pages you have attached $4,990.00
for Part 3. Write that number here .. ceseseeneeee se seccetesseceseesseeeeeesses —

ela a Describe Your Financial Assets |

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

Mi No

Official Form 106A/B Schedule A/B: Property page 4
Debtor Garcia , Ernesto

Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 7 of 59

Case number (if known) 29720076

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
L] No
RA YeS ceeccceccsseeeeeee Institution name:
Woodforest National Bank
17.1. Checking account: Account Number: 7349 $243.91
Woodforest National Bank
17.2. Savings account: Account Number: 0311 ($56.92)
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
Mi No
LL) Yes ....0............ Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
LLC, partnership, and joint venture
Wi No
) Yes. Give specific
information about
them................... Name of entity: % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
Mi No
() Yes. Give specific
information about
THOM... — [SSUer Name:
Official Form 106A/B Schedule A/B: Property page 5
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 8 of 59

Debtor Garcia , Ernesto Case number (if known) 25-20076

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

MM No

LJ Yes. List each
account separately, Type of account: Institution name:

401(k) or similar plan:

Pension plan:

IRA:

Retirement account:

Keogh:

Additional account:

Additional account:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or

others
Mf No
OC) NOS scsccenizes: Institution name or individual:
Electric:
Gas:
Heating oil:

Security deposit on rental unit:

Prepaid rent:

Telephone:

Water:

Rented furniture:

Other:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

Mi No

LJ Yes wu. Issuer name and description:

Official Form 106A/B Schedule A/B: Property page 6
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 9 of 59

Debtor Garcia , Ernesto Case number (if known) 25-20076

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Mi No

LY) Yes «00... — Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
for your benefit

wi No
L) Yes. Give specific

information about them. ...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: \|nternet domain names, websites, proceeds from royalties and licensing agreements

Mi No

L) Yes. Give specific
information about them. ...

27. Licenses, franchises, and other general intangibles
| Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Mi No

L) Yes. Give specific
information about them. ...

28. Tax refunds owed to you

Mi No
() Yes. Give specific information about
them, including whether you Federal:
already filed the returns and
the tax years. ........:c.c000 State:
Local:

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
settlement

Official Form 106A/B Schedule A/B: Property page 7
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 10 of 59

Debtor Garcia , Ernesto Case number (if known) 25-20076

30.

31.

32.

33.

Mi No

L) Yes. Give specific information. ........

Alimony:

Maintenance:

Support:

Divorce settlement:

Property settlement:

Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else

MM No

() Yes. Give specific information. ........

Interests in insurance policies

Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

Mi No

L) Yes. Name the insurance company

of each policy and list its value... Company name: Beneficiary: Surrender or refund value:

Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

Mi No

L) Yes. Give specific information. ........

Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Mi No

(.) Yes. Describe each claim. ..............

Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
claims

Wi No

(J Yes. Describe each claim. .............

35, Any financial assets you did not already list
wi No
CJ Yes. Give specific information. ........
Official Form 106A/B Schedule A/B: Property

page 8
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 11 of 59

Debtor Garcia , Ernesto Case number (if known) 25-20076

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached $186.99
for Part 4. Write that number here > :

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

LJ No. Go to Part 6.
MI Yes. Go to line 38.

38. Accounts receivable or commissions you already earned
] No
Wi Yes. Describe. .........

For services-Uncollectable $1,675.00

39. Office equipment, furnishings, and supplies

Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
electronic devices

WI No

L_] Yes. Describe. .........

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
LJ No
Mi Yes. Describe. .........

Hand tools and electrical tools for dba $1,000.00

41, Inventory

Mi No

L] Yes. Describe. .........

42. Interests in partnerships or joint ventures

Wi No

(J Yes. Describe .......

Name of entity: % of ownership:

Official Form 106A/B Schedule A/B: Property page 9
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 12 of 59

Debtor Garcia , Ernesto Case number (if known) 29720076

43. Customer lists, mailing lists, or other compilations

Mi No

L) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

LJ No
L) Yes. Describe. .........

44. Any business-related property you did not already list

Mi No

L) Yes. Give specific
information .........

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $2,675.00
for Part 5. Write that number here .. SAGAS suyuibaeiaasesy ccctustttttsstineeeeseeeeeesees .

Co Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

wi No. Go to Part 7.
L] Yes. Go to line 47.

47. Farm animals

Examples: Livestock, poultry, farm-raised fish

48. Crops—either growing or harvested

Mi No

Yes. Give specific
information. ............

Official Form 106A/B Schedule A/B: Property page 10
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 13 of 59

Debtor Garcia , Ernesto Case number (if known) 25-20076

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

Wi No

LD VOS ssissiscesncaxccsis

50. Farm and fishing supplies, chemicals, and feed

Wj No

LE) YOS oe

51. Any farm- and commercial fishing-related property you did not already list

Mi No

L] Yes. Give specific

information. ............

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $0.00
for Part 6, Write that number here > -

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

L) No
4 ‘ota - Jones Blk 8, Sublot 1-A Improvement only (Butler Metal Building) $342,890.00
54. Add the dollar value of all of your entries from Part 7. Write that number here ..00.0.....cccccssccssssseeesseeeeseeeeeeeeeeees $342,890.00

Zu List the Totals of Each Part of this Form

56. Part 1! Total real entutes WWi0 2 -ssccsscseses cians ccnsnnnsrenpeccnstrcinie auamiccuueienasinetuaarmaunnnnentmummanccas: > $44,750.00
56. Part 2: Total vehicles, line 5 $25,875.00
57. Part 3: Total personal and household items, line 15 $4,990.00
58. Part 4: Total financial assets, line 36 $186.99
59. Part 5: Total business-related property, line 45 $2,675.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $342,890.00
62. Total personal property. Add lines 56 through 61................_- ____ $376,616.99 Copy personal property total “® + $376,616.99

Official Form 106A/B Schedule A/B: Property page 11
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 14 of 59

Debtor Garcia , Ernesto Case number (if known) 25-20076

63. Total of all property on Schedule A/B. Add line 55 + line G2. ....ccccccccccsscssssssescesossececosssvesseessueecsssasessessssesssessuseesecssseecee $421,366.99

Official Form 106A/B Schedule A/B: Property page 12
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 15 of 59

Debtor Garcia , Ernesto Case number (if known) 25-20076
ee Continuation Page

6. Household goods and furnishings
3 coffee table $75.00
Bed $100.00
Chest $75.00
End table $40.00
Garden tools $100.00
Nightstand $50.00
Pots, pans, dishes, glasses and flatware $200.00
Recliner $100.00
Sectional sofa $100.00
Sofa $100.00
Table with chairs $200.00

7. Electronics
2 color tv $600.00
Computer $300.00
Dryer $150.00
Electric tools $250.00
Lawn mower $150.00
Microwave $100.00
Refrigerator $250.00
Small appliance $100.00
Stove $300.00
Washer $150.00

11. Clothes
Children's apparel $400.00
Men's apparel $600.00
Women's apparel $500.00

Official Form 106A/B Schedule A/B: Property page 13
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 16 of 59

Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
Debtor 2
(Spouse, iffiling) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern Districtof Texas
Case number 25-20076
(if known) CQ) Check if this is an
amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information, Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount

and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

Bae eentity the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

Ai You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
L] You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and Current value of the Amount of the exemption you claim Specific laws that allow exemption
line on Schedule A/B that lists this portion you own
property Check only one box for each exemption.
Copy the value from
Schedule A/B
Brief Blueberry Hill Bik. $44,750.00

description: ~~ 12. Lot 12A 1815AC
(N 1/2 Pt Lot 12)
174-B Veltri St. Beeville,

Tx 78102 Ms $44,750.00 Const. art. 16 §§ 50, 51, Texas
Line from LJ] 100% of fair market value, up to Prop. Code §§ 41.001-.002
Schedule A/B: 1.1 any applicable statutory limit

3. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

Wi No

LI] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
LC) No
C) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 5.
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 17 of 59

Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
Additional Page

Brief description of the property and Current value of the Amount of the exemption you claim Specific laws that allow exemption
line on Schedule A/B that lists this portion you own
property Check only one box for each exemption.

Copy the value from

Schedule A/B
Brief Stove $300.00
description: wi $300.00 Tex. Prop. Code §§ 42.001(a),
Line from _) 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 7 any applicable statutory limit
Brief Refrigerator $250.00
description: a $250.00 Tex. Prop. Code §§ 42.001(a),
Line from (J 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 7 any applicable statutory limit
Brief Microwave $100.00
description: Ai $100.00 Tex. Prop. Code §§ 42.001(a),
Line from C 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 7 any applicable statutory limit
Brief Small appliance $100.00
description: vi $100.00 Tex. Prop. Code §§ 42.001(a),
Line from CL) 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 7 any applicable statutory limit
Brief Washer $150.00 a
description: fi $150.00 Tex. Prop. Code §§ 42.001(a),
Line from O 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 7 any applicable statutory limit
Brief Dryer $150.00
description: A $150.00 Tex. Prop. Code §§ 42.001(a),
Line from (1 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 7 any applicable statutory limit
Brief Electric tools $250.00 -
description: wi $250.00 Tex. Prop. Code §§ 42.001(a),
Line from LJ 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 7 any applicable statutory limit
Brief Lawn mower $150.00
description: wi $150.00 Tex. Prop. Code §§ 42.001(a),
Line from L) 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 7 any applicable statutory limit
Brief Men's apparel $600.00
description: fi $600.00 Tex. Prop. Code §§ 42.001(a),
Line from (1 100% of fair market value, up to 42.002(a)(5)
Schedule A/B: 11 any applicable statutory limit
Brief Women's apparel $500.00
description: wi $500.00 Tex. Prop. Code §§ 42.001(a),
Line from CL} 100% of fair market value, up to 42.002(a)(5)
Schedule A/B: 11 any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 4 of 5
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 18 of 59

Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
Ea Additional Page
Brief description of the property and Current value of the Amount of the exemption you claim Specific laws that allow exemption
line on Schedule A/B that lists this portion you own :
property Check only one box for each exemption.
Copy the value from
Schedule A/B
Brief Children's apparel $400.00
description: wi $400.00 Tex. Prop. Code §§ 42.004(a),
Line from LL} 100% of fair market value, up to 42.002(a)(5)
Schedule A/B: tf. any applicable statutory limit
Brief Hand tools and $1,000.00
description: —_—_ electrical tools for
dba vi $1,000.00 Tex. Prop. Code §§ 42.001(a),
Line from Q) 100% of fair market value, up to 42.002(a)(4)
Schedule A/B: _ 40.1 any applicable statutory limit
Official Form 106C Schedule C: The Property You Claim as Exempt page 5 of 5
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 19 of 59

Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
Additional Page
Brief description of the property and Current value of the Amount of the exemption you claim Specific laws that allow exemption
line on Schedule A/B that lists this portion you own :
property Check only one box for each exemption.
Copy the value from
Schedule A/B
Brief 2020 Chevrolet $21,775.00
d iption: i
“sen Silverado M $6,225.00 Tex. Prop. Code §§ 42.001(a),
Line from L] 100% of fair market value, up to 42.002(a)(9)
Schedule AB: __3-1 any applicable statutory limit
Brief 2014 Nissan Van $4,000.00
description: k
Vehicle used for dba YM $4,000.00 Tex. Prop. Code §§ 42.001(a),
Line from L) 100% of fair market value, up to 42.002(a)(4)
Schedule A/B: _ 32 any applicable statutory limit
Brief 2023 Mazda CX-5 $0.00
description: Legal title under debtors
name but the vehicle
belongs to his ex wife.
The ex wife has been
making the payments
since the purchase of
the vehicle. full balance
is 25,183.09 and vehicle
vale be 19,768.00. wi $0.00 Tex. Prop. Code §§ 42.001(a),
Line from CL) 100% of fair market value, up to 42.002(a)(9)
Schedule A/B: _ 33 any applicable statutory limit
Brief 1996 RV $100.00
description: RV not in working
condition and is used for
——- wi $100.00 Tex. Prop. Code §§ 42.001(a),
Line from L] 100% of fair market value, up to 42.002(a)(9)
Schedule A/B: —_3.4 any applicable statutory limit
Brief Sofa $100.00
description: wi $100.00 Tex. Prop. Code §§ 42.001(a),
Line from LJ 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 6 any applicable statutory limit
Brief Sectional sofa $100.00
description: fi $100.00 Tex. Prop. Code §§ 42.001(a),
Line from () 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 6 any applicable statutory limit
Brief Recliner $100.00
description: vi $100.00 Tex. Prop. Gode §§ 42.001(a),
Line from CJ 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 6 any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 2 of 5
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 20 of 59

Debtor 1 Garcia

Last Name

Ernesto
First Name

Additional Page

Case number (if known) 25°20076
Middle Name

Brief description of the property and
line on Schedule A/B that lists this

Current value of the
portion you own

Amount of the exemption you claim Specific laws that allow exemption

Check only one box for each exemption.
e
eee Copy the value from
Schedule A/B

Brief 3 coffee table $75.00
description: wi $75.00 Tex. Prop. Code §§ 42.001(a),
Line from LJ 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 6 any applicable statutory limit
Brief End table $40.00
description: wi $40.00 Tex. Prop. Code §§ 42.001(a),
Line from [J 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 6 any applicable statutory limit
Brief Bed $100.00
description: afi $100.00 Tex. Prop. Code §§ 42.001(a),
Line from (2 100% of fair market value, up to 42,002(8)\1)
Schedule A/B: 6 any applicable statutory limit
Brief Chest $75.00
description: wi $75.00 Tex. Prop. Code §§ 42.001(a),
Line from CL) 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 6 any applicable statutory limit
Brief Nightstand $50.00
description: fi $50.00 Tex. Prop. Code §§ 42.001(a),
Line from (J 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 6 any applicable statutory limit
Brief Pots, pans, dishes, $200.00
description: ~~ glasses and

flatware wv $200.00 Tex. Prop. Code §§ 42.001(a),
Line from 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 6 any applicable statutory limit
Brief Table with chairs $200.00
description: vi $200.00 Tex. Prop. Code §§ 42.001(a),
Line from () 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 6 any applicable statutory limit
Brief Garden tools $100.00 =
description: fi $100.00 Tex. Prop. Code §§ 42.001(a),
Line from LJ 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 6 any applicable statutory limit
Brief 2 color tv $600.00
description: fi $600.00 Tex. Prop. Code §§ 42.004(a),
Line from C) 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 7 any applicable statutory limit
Brief Computer $300.00
description: ui $300.00 Tex. Prop. Code §§ 42.001(a),
Line from C) 100% of fair market value, up to 42.002(a)(1)
Schedule A/B: 7 any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

w

page 3 of 5
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION

IN RE: Garcia , Ernesto CASE NO 25-20076
CHAPTER 7
SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Totals by C. :

(Values and liens of surrendered property are NOT included in this section) Scheme Selected: State

Gross Total Total Amount Total Amount
No. Category Property Value Encumbrances Total Equity Exempt Non-Exempt
1. Real Estate $44,750.00 $0.00 $44,750.00 $44,750.00 $0.00
3. Motor vehicle $25,875.00 $15,550.00 $10,325.00 $10,325.00 $0.00
4, Watercraft, trailers, motors homes, and $0.00 $0.00 $0.00 $0.00 $0.00

accessories
6. Household goods and furnishings $1,140.00 $0.00 $1,140.00 $1,140.00 $0.00
7. Electronics $2,350.00 $0.00 $2,350.00 $2,350.00 $0.00
8. Collectibles of value $0.00 $0.00 $0.00 $0.00 $0.00
9. Equipment for sports and hobbies $0.00 $0.00 $0.00 $0.00 $0.00
10. Firearms $0.00 $0.00 $0.00 $0.00 $0.00
11. Clothes $1,500.00 $0.00 $1,500.00 $1,500.00 $0.00
12. Jewelry $0.00 $0.00 $0.00 $0.00 $0.00
13. Nonfarm animals $0.00 $0.00 $0.00 $0.00 $0.00
14. Other $0.00 $0.00 $0.00 $0.00 $0.00
16. Cash $0.00 $0.00 $0.00 $0.00 $0.00
17. Deposits of money $243.91 $0.00 $243.91 $0.00 $243.91
18. Bonds, mutual funds, or publicly traded $0.00 $0.00 $0.00 $0.00 $0.00
stocks

19. Business Interests, LLC's, $0.00 $0.00 $0.00 $0.00 $0.00

Partnerships, Joint Ventures and
Nonpublicly traded stock

20. Bonds and other financial instruments $0.00 $0.00 $0.00 $0.00 $0.00
21. Retirement or pension accounts $0.00 $0.00 $0.00 $0.00 $0.00
22. Security deposits and prepayments $0.00 $0.00 $0.00 $0.00 $0.00
23. Annuities $0.00 $0.00 $0.00 $0.00 $0.00
24. Interest in a qualified education fund, $0.00 $0.00 $0.00 $0.00 $0.00

such as an education IRA

25. Trusts, equitable or future interests in $0.00 $0.00 $0.00 $0.00 $0.00
property
IN RE:

Case 25-20076 Document 10 Filed in TXSB on 04/03/25

UNITED STATES BANKRUPTCY COURT

Garcia , Ernesto

SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION

CASE NO 25-20076

CHAPTER 7
SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Page 22 of 59

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)

Continuation Sheet #1

Scheme Selected: State

Gross Total Total Amount Total Amount
No. Category Property Value Encumbrances Total Equity Exempt Non-Exempt
26. Copyrights, trademarks, websites and $0.00 $0.00 $0.00 $0.00 $0.00
other intellectual property
2f. Licenses, Franchises, and other $0.00 $0.00 $0.00 $0.00 $0.00
general intangibles
28. Tax refunds $0.00 $0.00 $0.00 $0.00 $0.00
29. Family support $0.00 $0.00 $0.00 $0.00 $0.00
30. Other amounts owed to the debtor $0.00 $0.00 $0.00 $0.00 $0.00
31. Insurance policies $0.00 $0.00 $0.00 $0.00 $0.00
32. Interest in property from deceased $0.00 $0.00 $0.00 $0.00 $0.00
33. Claims against third parties $0.00 $0.00 $0.00 $0.00 $0.00
34. All other claims, includes $0.00 $0.00 $0.00 $0.00 $0.00
contingent/unliquidated claims, counter
claims, and creditor set offs
35. Other financial asset $0.00 $0.00 $0.00 $0.00 $0.00
38. Accounts receivable $0.00 $0.00 $0.00 $0.00 $0.00
39. Office equipment, furnishings, and $0.00 $0.00 $0.00 $0.00 $0.00
supplies
40. Machinery, fixtures and equipment $1,000.00 $0.00 $1,000.00 $1,000.00 $0.00
41. Inventory $0.00 $0.00 $0.00 $0.00 $0.00
42, Interests in partnerships or joint $0.00 $0.00 $0.00 $0.00 $0.00
ventures
43. Customer lists $0.00 $0.00 $0.00 $0.00 $0.00
44, Other businessrelated property $0.00 $0.00 $0.00 $0.00 $0.00
47, Farm animals $0.00 $0.00 $0.00 $0.00 $0.00
48. Crops $0.00 $0.00 $0.00 $0.00 $0.00
49. Equipment $0.00 $0.00 $0.00 $0.00 $0.00
50. Supplies $0.00 $0.00 $0.00 $0.00 $0.00
51. Other farm or fishing related property $0.00 $0.00 $0.00 $0.00 $0.00

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION

IN RE: Garcia , Ernesto CASE NO 25-20076

CHAPTER 7
SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Continuation Sheet #2

Exemption Totals by Category:

(Values and liens of surrendered property are NOT included in this section) Scheme Selected: State
Gross Total Total Amount Total Amount

No. Category Property Value Encumbrances Total Equity Exempt Non-Exempt

53. Other $0.00 $0.00 $0.00 $0.00 $0.00

TOTALS: $76,858.91 $15,550.00 $61,308.91 $61,065.00 $243.91
Case 25-20076 Document 10 Filed in TXSB on 04/03/25

UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION

IN RE: Garcia , Ernesto

CASE NO 25-20076

CHAPTER 7

SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Surrendered Property:

Continuation Sheet #3

Page 24 of 59

The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for
purposes of this analysis. The below listed items are to be returned to the lienholder

Property Description

Market Value

Lien

Equity

Real Property
(None)

Personal Property

Jones Blk 8, Sublot 1-A Improvement only (Butler Metal
Building)

For services-Uncollectable

$342,890.00

$1,675.00

$342,890.00

$1,675.00

TOTALS:

Non-exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

$344,565.00

$0.00

$344,565.00

Property Description

Market Value Lien

Equity

Non-Exempt Amount

Real Property
(None)

Personal Property

Woodforest National Bank
Checking account
Acct. No.: 7349

$243.91 $0.00

$243.91

$243.91

TOTALS:

$76,858.91 $15,550.00

$61,308.91

$243.91

IN RE:

Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 25 of 59

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION

Garcia , Ernesto CASE NO 25-20076
CHAPTER 7
SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Continuation Sheet #4

Summary
A, Gross Property Value (not including surrendered property) $76,858.91
B. Gross Property Value of Surrendered Property $344,565.00
C. Total Gross Property Value (A+B) $421,423.91
D. Gross Amount of Encumbrances (not including surrendered property) $15,550.00
E. Gross Amount of Encumbrances on Surrendered Property $0.00
F. Total Gross Encumbrances (D+E) $15,550.00
G. Total Equity (not including surrendered property) / (A-D) $61,308.91
H. Total Equity in surrendered items (B-E) $344,565.00
|. Total Equity (C-F) $405,873.91
J. Total Exemptions Claimed $61,065.00

K. Total Non-Exempt Property Remaining (G-J)

$243.91

Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 26 of 59

Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
Southern District of Texas

United States Bankruptcy Court for the:

Case number (if 25-20076

known)

() Check if this is an
amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

12/15

Be as complete and accurate as possible, If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).

1. Doany creditors have claims secured by your property?

CJ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
WA Yes. Fill in all of the information below.

List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor Column A Column B Column C
separately for each claim. If more than one creditor has a particular claim, list the other Amount of claim Value of collateral Unsecured
creditors in Part 2. As much as possible, list the claims in alphabetical order according to the Dio hot ddduct the that supports this _ portion
creditor's name. it celatere claim any

C2) Michelle Matus Describe the property that secures the claim: $40,000.00 $342,890.00 $0.00
Creditor's Name
Bee County Jones Bik 8, Sublot 1-A Improvement only (Butler Metal Building)
PO Box 1900 As of the date you file, the claim is: Check all that apply.
Number Street C) Contingent
Beeville, TX 78104 C) Unliquidated
City State ZIP Code Disputed

Who owes the debt? Check one.

wi Debtor 1 only

L) Debtor 2 only

L) Debtor 1 and Debtor 2 only

L) At least one of the debtors and
another

J Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here:

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

Nature of lien. Check all that apply.

L) An agreement you made (such as mortgage or secured car loan)
LJ Statutory lien (such as tax lien, mechanic's lien)

LJ Judgment lien from a lawsuit

(J Other (including a right to
offset)

Last 4 digits of account number

$40,000.00

page 1 of 2
Debtor 1

Official Form 106D

Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 27 of 59

Ernesto

Garcia Case number (if known) 25-20076

First Name

Middle Name

Last Name

Column A Column B Column C
AddiGonal Page Amount of claim Value of collateral Unsecured
After listing any entries on this page, number them beginning with 2.3, fic nok iadact ie that supports this _—_ portion
followed by 2.4, and so forth. value of collateral. “alm fany
Santander Consumer USA, Inc Describe the property that secures the claim: $15,550.00 $21,775.00 $0.00
Creditors Name
2020 Chevrolet Silverado
Attn: Bankruptcy
PO Box 961245 As of the date you file, the claim Is: Check all that apply.
Number Street C) Contingent
Fort Worth, TX 76161-1245 Q) Untiquidated
City State ZIP Code 1 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Mi Debtor 1 only () An agreement you made (such as mortgage or secured car loan)
C) Debtor 2 only () Statutory lien (such as tax lien, mechanic's lien)
C) Debtor 1 and Debtor 2 only (J Judgment lien from a lawsuit
C) At least one of the debtors and O) Other (including a right to
another offset)
L) Check if this claim relates to a
community debt
Date debt was incurred 8/1/2020 Last 4 digits of account number 100 0
Toro Automotive LLC Describe the property that secures the claim: $25,183.09 $0.00 $25,183.09
Creditors Name
2023 Mazda CX-5
1001 Guadalupe Legal title under debtors name but the vehicle belongs to his ex wife. The ex wife has been making the payments
Number = Street since the purchase of the vehicle. full balance is 25,183.09 and vehicle value is 19,750.00.
As of the date you file, the claim is: Check all that apply.
Laredo, TX 78040 Contingent
City State ZIP Code

Who owes the debt? Check one.
i Debtor 1 only

C) Debtor 2 only

QO) Debtor 1 and Debtor 2 only

CL) At least one of the debtors and
another

() Check if this claim relates to a
community debt

Date debt was incurred 10/29/2024

O) Unliquidated

C2 Disputed

Nature of lien. Check all that apply.

C) An agreement you made (such as mortgage or secured car loan)
C) Statutory lien (such as tax lien, mechanic's lien)

C) Judgment lien from a lawsuit

C) Other (including a right to
offset)

Last 4 digits of account number

Remarks: Legal title under debtors name but the vehicle belongs to his ex wife. The ex wife has been making the payments since the purchase of the
vehicle. full balance is 25,183.09 and vehicle value is 19,750.00. To be paid by third party

Add the dollar value of your entries in Column A on this page. Write that number here:

If this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

$40,733.09

$80,733.09

page 2 of 2
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 28 of 59

Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
Debtor 2
(Spouse, iffiling) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern Districtof_ Texas
Case number 25-20076
(if known) L] Check if this is an
amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,

number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
CJ No. Go to Part 2.

wi Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
claim listed, identify what type of claim itis. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims,
fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Total claim Priority Nonpriority
amount amount
[2.1] Internal Revenue Servcie Last4 digits ofaccountnumber $20,355.00 $20,355.00 $0.00
Priority Creditor’s Name
When was the debt incurred?
P.O. Box 7346
Number Street
As of the date you file, the claim is: Check all that apply.
Philadelphia, PA 19101-0424 CI Contingent
City State ZIP Code Uniiquidated
L) Disputed
Who incurred the debt? Check one.
WA Debtor 1 only Type of PRIORITY unsecured claim:
L} Debtor 2 only LJ Domestic support obligations
L] Debtor 1 and Debtor 2 only A Taxes and certain other debts you owe the government
() At least one of the debtors and another |] Claims for death or personal injury while you were intoxicated
L] Check if this claim is for a LL) Other. Specify
community debt
Is the claim subject to offset?
Mi No
) Yes
Remarks: 2022 tax period $7167.00
2023 tax period $4628.00
2024 tax period $8560.00
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of 6
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 29 of 59

Debtor 4 Ernesto

Garcia Case number (if known) 25-20076

First Name Middle Name Last Name

Ze Your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim _— Priority Nonpriority
amount amount
Texas Workforce Commission Last4 digits ofaccountnumber $29,364.74 $29,364.74 $0.00
oe When was the debt incurred?
Tax Department
PO Box 8870

Number Street
Corpus Christi, TX 78468-8870

City State ZIP Code

Who incurred the debt? Check one.

wi Debtor 1 only

L) Debtor 2 only

(J Debtor 1 and Debtor 2 only

L] At least one of the debtors and another

L) Check if this claim is for a
community debt

Is the claim subject to offset?

wi No
QO Yes

Official Form 106E/F

As of the date you file, the claim is: Check all that apply.
QO) Contingent

QO) Unliquidated

L) Disputed

Type of PRIORITY unsecured claim:

C) Domestic support obligations

M4 Taxes and certain other debts you owe the government

C) Claims for death or personal injury while you were intoxicated
C) Other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims page 2 of 6
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 30 of 59

Debtor 1 Ernesto Garcia

Case number (if known) 29-20076

First Name Middle Name Last Name

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
LJ No. You have nothing to report in this part. Submit this form to the court with your other schedules.

wi Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

Fox Kesha

Nonpriority Creditor’s Name
3102 Cambria Drive

Number Street

Beeville, TX 78102

City State ZIP Code

Who Incurred the debt? Check one.

MA Debtor 1 only

C) Debior 2 only

CJ Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

wi No
OC) Yes

Jefferson Capital Systems, LLC

Nonpriority Creditor's Name
Attn: Bankruptcy

16 McLeland Road

Number Street
Saint Cloud, MN 56303
City State ZIP Code

Who incurred the debt? Check one.

Mi Debtor 1 only

LL) Debtor 2 only

(J Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

LJ Check if this claim is for a community debt

Is the claim subject to offset?

Mi No

LJ Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of accountnumber $10,179.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
() Contingent

Q) Unliquidated

L) Disputed

Type of NONPRIORITY unsecured claim:
LJ Student loans

L) Obligations arising out of a separation agreement or divorce that you did not report as
priority claims

L) Debts to pension or profit-sharing plans, and other similar debts

WA Other. Specity Lawsuit

Last 4 digits of accountnumber 7 0 2 6 $2,101.00

When was the debt incurred? 8/1/2023

As of the date you file, the claim is: Check all that apply.
C) Contingent

OQ) Unliquidated

U) Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

L) Obligations arising out of a separation agreement or divorce that you did not report as
priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

Wi Other. Specify Collection Agency

page 3 of 6
Debtor 1

Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 31 of 59

Ernesto

Garcia

Case number (if known) 29720076

First Name Middie Name

Last Name

Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

bg

Jessy T. Garza

Nonpriority Creditor's Name
Hugo Xavier De Los Santos

900 Vance Jackson Road

Number Street
San Antonio, TX 78201

City State

Who incurred the debt? Check one.

WB Debtor 1 only

_] Debtor 2 only

LJ Debtor 1 and Debtor 2 only

] At least one of the debtors and another

_] Check if this claim is for a community debt

ZIP Code

Is the claim subject to offset?
wi No
L) Yes

The Notzon Law Firm, PLLC

Nonpriority Creditor's Name
6999 McPherson Rd. Ste. 325

Number Street

Laredo, TX 78041

City State

Who incurred the debt? Check one.

vi Debtor 1 only

L] Debtor 2 only

CJ Debtor 1 and Debtor 2 only

() At least one of the debtors and another

ZIP Code

Total claim

Last 4 digits ofaccountnumber 1 3 6 4 $303,188.80

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
C) Contingent

Q) Unliquidated

L) Disputed

Type of NONPRIORITY unsecured claim:
L} Student loans

.] Obligations arising out of a separation agreement or divorce that you did not report as
__ Priority claims

_} Debts to pension or profit-sharing plans, and other similar debts

M4 Other. Specify Lawsuit

Last 4 digits of account number $29,074.72

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
L) Contingent

QO) Unliquidated

(J Disputed

Type of NONPRIORITY unsecured claim:
C) Student loans

C) Obligations arising out of a separation agreement or divorce that you did not report as
priority claims
L) Debts to pension or profit-sharing plans, and other similar debts

C) Check if this claim is for a community debt M Other. Specify
Is the claim subject to offset?
4 No
L) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 4 oF 6
Official Form 106E/F

Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 32 of 59

Debtor 1 Ernesto Garcia

Case number (if known) 29720076

First Name Middle Name Last Name

Your NONPRIORITY Unsecured Claims — Continuation Page

Nonpriority Creditors Name
101 W. Goodwin Ave. Ste. 720

Number Street

Victoria, TX 77901

City State ZIP Code

Who incurred the debt? Check one.

wi Debtor 1 only

() Debtor 2 only

(J Debtor 1 and Debtor 2 only

(CJ At least one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?

wi No
L) Yes

Transworld System Inc

Nonpriority Creditor’s Name
Attn: Bankruptcy

PO Box 15618

Number Street
Wilmington, DE 19850
City State ZIP Code

Who incurred the debt? Check one.

WA Debtor 1 only

L] Debtor 2 only

L) Debtor 1 and Debtor 2 only

() At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

wi No
Q) Yes

Remarks: Reliant Energy Retail Services

Schedule E/F: Creditors Who Have Unsecured Claims

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
The Werner Law Group, PLLC

Last 4 digits of accountnumber $15,708.55

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
LJ Contingent

U Unliquidated

L) Disputed

Type of NONPRIORITY unsecured claim:
L) Student loans

L) Obligations arising out of a separation agreement or divorce that you did not report as
priority claims
LJ Debts to pension or profit-sharing plans, and other similar debts

wi Other. Specify
Last 4 digits of accountnumber 3 1 1 0 $1,023.00
When was the debt incurred? 11/17/2024

As of the date you file, the clalm is: Check all that apply.
() Contingent

L) Unliquidated

LJ Disputed

Type of NONPRIORITY unsecured claim:

C) Student loans

C) Obligations arising out of a separation agreement or divorce that you did not report as
priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

MM other. Specify Collection Agency

page 5_ of &
Debtor 1 Ernesto Garcia

First Name Middle Name Last Name

Add the Amounts for Each Type of Unsecured Claim

Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 33 of 59

Case number (if known) 29720076

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims 6a.

from Part 1

6e.

Total claims  f.
from Part 2

Gi.

gj.

Official Form 106E/F

Domestic support obligations

Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

Total. Add lines 6f through 6i.

6a.

6b.

6e.

6f.

6i.

6j.

Total claim
$0.00

$49,719.74

$0.00

+ $0.00

$49,719.74

Total claim
$0.00

$0.00

$0.00

+ $361,275.07

$361,275.07

Schedule E/F: Creditors Who Have Unsecured Claims

page 68 of _6&
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 34 of 59

United States Bankruptcy Court for the:
Case number 25-20076

Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
Debtor 2
(Spouse, iffiling) First Name Middle Name Last Name
Southern District of Texas

(if known)

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases

() Check if this is an
amended filing

12/15

Be as complete and accurate as possible, If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your
name and case number (if known).

1.

2.1

2.2

2.3

2.4

Do you have any executory contracts or unexpired leases?

LJ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

WV Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.

Person or company with whom you have the contract or lease

Union Pacific Railroad Company

Lease for metal bldg.

Name

1400 Douglas Street Stop 1690

Number
Beeville, TX 78102

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

Official Form 106G

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

State what the contract or lease is for

page 1 of a
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 35 of 59

Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
Debtor 2
(Spouse, iffiling) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern Districtof Texas
Case number 25-20076
(if known) (J Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have, Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

4. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
wi No
C) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and terntories include Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

W No. Go to line 3.
CJ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

CL] No

CL) Yes. In which community state or territory did you live? Fill in the name and current address of that person.

Name of your spouse, former spouse, or legal equivalent

Number Street
City State ZIP Code
3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line

2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
Name () Schedule D, line
C) Schedule E/F, line
Number Street
C) Schedule G. line
City State ZIP Code
Name CJ Schedule D, line
L} Schedule E/F, line
Number Street
LJ Schedule G, line
City State ZIP Code
Official Form 106H Schedule H: Codebtors

page 1 of ih
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 36 of 59

cm Aiielanerclielam(emiet=i

Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
Debtor 2
(Spouse, iffiling) First Name Middle Name Last Name Check if this is:
ip ] An amended filing
Mead Stain eankrupiey, Couns foe ie ee peal a L) A supplement showing postpetition chapter
Case number 25-20076 13 income as of the following date:
(if known) a
MM/DD/YYYY

Official Form 1061
Schedule I: Your Income 42/45

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying
correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are
separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to
this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment Debtor 1 Debtor 2 or non-filing spouse
information,
if you have more than one job, 4 Employment status C} Employed L) Employed
attach a separate page with MA Not employed C) Not employed
information about additional
employers.
Occupation

Include part-time, seasonal, or
self-employed work.
Employer's name

Occupation may include student
or homemaker, if it applies.
Employer's address

Number Street Number Street

City State ZIP Code City State ZIP Code

How long employed there?

Ze Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $0.00
3. Estimate and list monthly overtime pay. 3. + $0.00 +
4. Calculate gross income. Add line 2 + line 3. 4. $0.00

Official Form 1061 Schedule |: Your Income page 1
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 37 of 59

Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Goby line 4 thet@: 22ers nsec ence Se $0.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $0.00
5b. Mandatory contributions for retirement plans 5b. $0.00
5c. Voluntary contributions for retirement plans 5c. $0.00
5d. Required repayments of retirement fund loans 5d. $0.00
5e. Insurance Se. $0.00
5f. Domestic support obligations 5f. $0.00
5g. Union dues 5g. $0.00
5h. Other deductions. Specify: 5h. + $0.00 +
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d+5e+5f+5g+5h. 6. $0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. Ty $0.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross receipts,
ordinary and necessary business expenses, and the total monthly net
income. 8a. $1,862.61
8b. Interest and dividends 8b. $0.00
8c. Family support payments that you, a non-filing spouse, or a
dependent regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8c. $0.00
8d. Unemployment compensation 8d. $0.00
8e. Social Security Be. $0.00
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash
assistance that you receive, such as food stamps (benefits under the
Supplemental Nutrition Assistance Program) or housing subsidies.
Specify: Bf. $0.00
8g. Pension or retirement income 8g. $0.00
8h. Other monthly income. Specify; Odd jobs/house cleaning 8h. + $800.00 +
9. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + Bf + 8g + Bh. 9. $2,662.61
10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $2,662.61 | + $2,662.61
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 1.+ $0.00

Official Form 1061

Schedule |: Your Income

page 2

Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 38 of 59

Debtor 1 Ernesto Garcia Case number (if known) 29720076
First Name Middle Name Last Name
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. $2,662.61
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies A, | conten,
Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?

vi No.

CL) Yes. Explain:

Official Form 1061 Schedule I: Your Income page 3

Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 39 of 59

Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
8a. Attached Statement
3G Electric Co.

Case number (if known) 25-20076

FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A -

21.

22.
PART C -

23.

Official Form 106!

ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

Gross Monthly Income:
ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:

ESTIMATED AVERAGE NET MONTHLY INCOME:

AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 1)

Schedule |: Your Income

Ordinary and necessary expense $0.00

Net Employee Payroll (Other than debtor) $7,777.22

Payroll Taxes $0.00

Unemployment Taxes $0.00

Worker's Compensation $0.00

Other Taxes $0.00

Inventory Purchases (Including raw materials) $0.00

Purchase of Feed/Fertilizer/Seed/Spray $0.00
. Rent (Other than debtor's principal residence) ____—$.0.00
. Utilities $1,145.81
. Office Expenses and Supplies $2.16
. Repairs and Maintenance $244.96
. Vehicle Expenses $1,249.49
. Travel and Entertainment $97.94
. Equipment Rental and Leases $0.00
. Legal/Accounting/Other Professional Fees $1,486.41
. Insurance $86.87
. Employee Benefits (e.g., pension, medical, etc.) $0.00
. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition

Business Debts

TOTAL PAYMENTS TO SECURED CREDITORS $0.00

Other Expenses

Tools and small equipment $4,614.50

Water, drinks and ice $9.00

Work meals $919.86

Bank Service Charges $321.77

Property taxes $27.42

Protective clothing $74.92

Material and supplies for job $26,905.00

TOTAL OTHER EXPENSES $32,872.47

TOTAL MONTHLY EXPENSES (Add Item 2 - 21)

$46,825.94

$44,963.33

$1,862.61

page 4
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 40 of 59

Debtor 1 Emesto Garcia Check if this is:

First Name Middle Name Last Name eck if this is:

LJ An amended filing
oe L} A supplement showing postpetition chapter 13
S , if fill .
(Spouse, if fing) First Name Middle Name Last Name dienest tk OF tie Olay dale:
United States Bankruptcy Court for the: Southern District of Texas
MM /DD/ YYYY

Case number 25-20076
(if known)

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Co Describe Your Household

1. Is this a joint case?

WA no, Go to line 2.

CI yes. Does Debtor 2 live in a separate household?
LINo

L) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? oO No
Do not list Debtor 1 and wi Yas? Fill oui:this information ee to Dependent's _ — live
Debtor 2. for each dependent.............. ee = age xou
Do not state the dependents’ Child 2 years old
names y' QO No. vi Yes.
Girlfriend 30 years Ono. Yves.
LJNo. _) Yes.
LINo. L) Yes.
LJNo. C)Yes.
3. Do your expenses include Wi No
expenses of people other than QO V6E
yourself and your dependents?

Gar Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value of Your expenses
such assistance and have included it on Schedule I: Your Income (Official Form 1061.)

4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
for the ground or lot. 4. $0.00

if not included in line 4:

4a. Real estate taxes 4a. $0.00
4b. Property, homeowner's, or renter's insurance 4b. $0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $200.00
4d. Homeowner's association or condominium dues 4d. $0.00

Official Form 106J Schedule J: Your Expenses page 1
Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Other. Specify: gas for the house
7. Food and housekeeping supplies
8. Childcare and children’s education costs
9. Clothing, laundry, and dry cleaning
10. Personal care products and services
11. Medical and dental expenses
12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitable contributions and religious donations
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Health insurance
15c. Vehicle insurance
15d. Other insurance. Specify:
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:
17. Installment or lease payments:
17a. Car payments for Vehicle 1 2020 Chevrolet Silverado
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:
18. Your payments of alimony, maintenance, and support that you did not report as deducted
from your pay on line 5, Schedule |, Your Income (Official Form 1061).
19. Other payments you make to support others who do not live with you.
Specify:
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

Official Form 106J

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20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

Case number (if known) 25-20076

6a.
6b.

15b.

15d.

16.

17a.
17b.
17c.
17d.

18.

19.

20a.
20b.
20c.
20d.
20e.

Your expenses

$0.00

$250.00

$90.00

$260.00

$50.00

$700.00

$0.00

$75.00

$50.00

$25.00

$150.00

$50.00

$0.00

$0.00

$0.00

$200.00

$0.00

$0.00

$790.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

page 2
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 42 of 59

Debtor 1 Ernesto Garcia

First Name Middle Name Last Name

21. Other. Specify:

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |.
23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

Mi No.
CL) Yes.

None

Official Form 106J Schedule J: Your Expenses

Case number (if known) 25-20076

22a.
22b.

22c¢.

23a.
23b.

23¢.

$0.00

$2,890.00

$0.00

$2,890.00

$2,662.61

$2,890.00

($227.39)

page 3
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 43 of 59

Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name

Amount
6c. Telephone, cell phone, Internet, satellite, and cable services
cell $140.00
Cable/internet $120.00
7. Food and housekeeping supplies
Groceries $500.00
baby needs $200.00

Official Form 106J Schedule J: Your Expenses page 4
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 44 of 59

Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern District of Texas
Case number 25-20076 LJ Check if this is an
(if known) amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money

or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

ae Sign Below

Did you pay or agree to pay someone who is NOT an attomey to help you fill out bankruptcy forms?

MiNo

) Yes. Name of person Attach Bankruptcy Petition Preparer's Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, | deciare that | have read the summary and schedules filed with this declaration and that they are true and correct.

x /s/ Ernesto Garcia
Emesto Garcia , Debtor 1

Date 04/03/2025
MM/ DD/ YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 45 of 59

Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern District of Texas
Case number 25-20076 L) Check if this is an
(if known) amended filing

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?
C) Married

vi Not married

2. During the last 3 years, have you lived anywhere other than where you live now?
Mi No

() Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 lived Debtor 2: Dates Debtor 2 lived
there there
LJ Same as Debtor 1 O Same as Debtor 1
From From
Number Street Number Street
16 eee To
City State ZIP Code City State ZIP Code
J Same as Debtor 1 ) Same as Debtor 1
From From
Number Street Number Street
WG etree To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Mi No

L) Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
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Debtor 1 Ernesto

Garcia

First Name

Middle Name

Last Name

Gee ain the Sources of Your Income

Case number (if known) 25-20076

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

L} No
wi Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross Income Sources of income Gross Income
Check all that apply. (before deductions and Check all that apply. (before deductions and
exclusions) exclusions)
From January 1 of current year until the C) Wages, commissions, C) Wages, commissions,
date you filed for bankruptcy: bonuses, tips bonuses, tips
Wi Operating a business $63,032.00 _] Operating a business
For last calendar year: L} Wages, commissions, ) Wages, commissions,
(January 1 to December 31, 2024 __) bonuses, tips bonuses, tips
YYYY Operating a business $644,183.00 C) Operating a business
For the calendar year before that: Wages, commissions, Q) Wages, commissions,
(January 1 to December 31, 2023 +) bonuses, tips bonuses, tips
YYYY if Operating a business $517,169.00 _] Operating a business

5. Did you receive any other income during this year or the two previous calendar years?

Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
filing a joint case and you have income that you received together, list it only once under Debtor 1.

Wi No

() Yes. Fill in the details.

Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross Income from
Describe below. each source Describe below. vech cours
(before deductions and (before deductions and
exclusions) exclusions)

From January 1 of current year until the
date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31, 2024 +)
¥V¥

For the calendar year before that:

(January 1 to December 31, 2023 +)
YYYY

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2
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Debtor 1 Ernesto Garcia Case number (if known) 25-20076

First Name Middle Name Last Name
List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

LJNo. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
LJ No. Go to line 7.

()yYes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

wi Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

CJ No. Go to line 7.

Ayes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
an attorney for this bankruptcy case.

Dates of Total amount paid Amount you stillowe | Was this payment for...
Santander Consumer Usa 01/2025 $2,370.00 $15,550.00 ()Morigage
Creditors Name Micar
Attn: Bankruptcy 02/2025 U credit card
PO Box 961245
Number Street 03/2025 CL) Loan repayment

_) Suppliers or vendors

Fort Worth, TX 76161 "
City State ZIP Code ] Other

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

MiNo

(J Yes. List all payments to an insider.

Dates of Total amount paid ~=Amount you still Reason for this payment
owe

Insider's Name

Number Street

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
Case 25-20076 Document 10 Filed in TXSB on 04/03/25 Page 48 of 59

Debtor 1 Ernesto Garcia Case number (if known) 25-20076

First Name Middle Name Last Name

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
Include payments on debts guaranteed or cosigned by an insider.

Mino
(1 Yes. List all payments that benefited an insider.

Dates of Total amount paid Amount you still Reason for this payment
payment os Include creditor's name

Insider's Name

Number Street

City State ZIP Code

a identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
contract disputes.

LJ No

Mi Yes. Fill in the details.

Nature of the case Court or agency Status of the case
i ivi Jessy T. Garza
Case title Swi Ve 343RD Judicial District, Bee O Pending
Case number BCV2201364 Ernesto Garica County, tame Qon appeal
Marco Garcia Bi Concluded
Guadalupe v. Garcia and Zenaida Silva, District Clerk
Jacqueline Garcia 156th District Court
PO Box 666
Number Street
Beeville, TX 78104
City State ZIP Code
i j Rox, Kesha
core civil vs. Bee County Justice Court (J Pending
Case number SC4-130098 Garcia Ernesto ie ne 3 (J On appeal
Judge Abel Suniga Wi conciuded
105 W. Corpus Christi St. Room
103

Number Street

Beeville, TX 78102
City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
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Case number (if known) 25-20076

Debtor 1 Ernesto Garcia
First Name Middie Name Last Name
Nature of the case Court or agency Status of the case
a The Werner Law Group, PLLC
— Ls ve. . The Werner Law Group, PLLC OPending
Case number CIV2-21728 Ernesto Garcia een Lon appeal
101 W. Goodwin Ave. Ste. 720 wh Bonckutiod

Number Street

Victoria, TX 77901
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

MANo. Go to line 11.

|) Yes. Fill in the information below.

Describe the property Date Value of the property
Creditor’s Name
Number Street Explain what happened
(_] Property was repossessed.
(_) Property was foreclosed.
(_] Property was garnished.

City State ZIP Code (_] Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
refuse to make a payment because you owed a debt?

MINo

} Yes. Fill in the details.

; taken
Creditor's Name
Number Street
Ci ZIP
~ Gite Sue Last 4 digits of account number: XXXX-— —— —

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
appointed receiver, a custodian, or another official?

i No
LJ} Yes

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
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Debtor 1 Ernesto Garcia Case number (if known) 25-20076

First Name Middie Name Last Name
ieee List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
wi No
(_) Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts ea Dates you gave Value
per person the gifts

Person to Whom You Gave the Gift

Number Street

City State ZIP Code

Person’s relationship to you

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
Mi No

(_} Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
Charity’s Name

Number Street

City State ZIP Code

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
gambling?

MANo

() Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your loss Value of property lost

how the ges cccerred Include the amount that insurance has paid. List pending
insurance claims on line 33 of Schedule A/B: Property.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

L]No
Wi Yes. Fill in the details.

Description and value of any property transferred Date payment or Amount of payment
Law Office of Carl M. Barto transfer was made
Person Who Was Paid Attorney's Fee
3/20/2025 $2,500.00

817 Guadalupe
Number Street

Laredo, TX 78040-5251
City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MiNo

(_} Yes. Fill in the details.

Description and value of any property transferred Date payment or Amount of payment
transfer was made

Person Who Was Paid

Number Street

City State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

MINo

() Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
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Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
oe Describe any property or payments Date transfer was
received or debts paid in exchange _ made

Person Who Received Transfer

Number Street

City State ZIP Code

Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
(These are often called asset-protection devices.)

Mi No
() Yes. Fill in the details.

Description and value of the property transferred = ae Date transfer was

Name of trust

a List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
funds, cooperatives, associations, and other financial institutions.

Mino
(_) Yes. Fill in the details.
Last 4 digits of account number Type of account or Date account was Last balance

instrument closed, sold, moved, or before closing or
transferred transfer

Name of Financial Institution

a a ce ees L} Checking
L} Savings
Number Street (-) Money market
(J Brokerage

() Other

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
valuables?

MINo

() Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8
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Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
Who else had access to it? Describe the contents Do you still have
it?
LJNo
Name of Financial Institution Name O Yes

Number Street

City State ZIP Code

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

MINo

() Yes. Fill in the details.

Number Street

City State ZIP Code

Who else has or had access to it? Describe the contents

Name of Storage Facility

Number Street

City State ZIP Code

City State ZIP Code

Br identify Property You Hold or Control for Someone Else

23. Do you hold or contro| any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

Mino
(J Yes. Fill in the details.
Where is the property? Describe the property
Owner's Name Number t
Number Street
City State ZIP Code

City State

Official Form 107

ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 9
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Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
Gey <ve Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

mw Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
cleanup of these substances, wastes, or material.

m@ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
or utilize it, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Mino

(_] Yes. Fill in the details.

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

25. Have you notified any governmental unit of any release of hazardous material?
MINo

(J Yes. Fill in the details.

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

City State ZIP Code

26, Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
Mi No

(} Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
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Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
Court or agency Nature of the case Status of the case
Case title C)Pending
Court N
oureNamne (J On appeal
L} Concluded

Number Street

Case number
mu City State ZIP Code

Ce oe Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
A A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
wi A member of a limited liability company (LLC) or limited liability partnership (LLP)
La partner in a partnership
() An officer, director, or managing executive of a corporation
() An owner of at least 5% of the voting or equity securities of a corporation
_] No. None of the above applies. Go to Part 12.

Wes. Check all that apply above and fill in the details below for each business.

' . Describe the nature of the business Employer Identification number
3G Electrical Services LLC Do not include Social Security number or ITIN.
one Electrical Services
OS a ee ee eee
172 S. Veltri St. Name of accountant or bookkeeper Dates business existed
Number Street
From 2014 To 2021
Beeville, TX 78102
City State ZIP Code
- Describe the nature of the business Employer Identification number
3G Electric Co. Do neti or iT.
Name Electrical Services
EIN: = ee
407 N. Adams Name of accountant or bookkeeper Dates business existed

Number Street
From 02/13/2025 To Still open

Beeville, TX 78102
City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
creditors, or other parties.

Mino

(Yes. Fill in the details below.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
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Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
Date issued
Name MM/DD/YYYY

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers are true
and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

xX Is! Ernesto Garcia
Signature of Ernesto Garcia , Debtor 1

Date 04/03/2025

Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

MINo

L] Yes
Did you pay or agree to pay someone who Is not an attorney to help you fill out bankruptcy forms?
Mi No
Attach the Bankruptcy Petition Preparer’s Notice,
CL] Yes. Name of person Declaration, and Signature (Official Form 119).
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 12
Debtor 1 Ernesto Garcia
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern District of Texas

Case number
(if known)

25-20076

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wi 1. There is no presumption of abuse.

QO 2. The calculation to determine if a presumption
of abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A-2).

Q) 3. The Means Test does not apply now because
of qualified military service but it could apply later.

Q) Check if this is an amended filing

Official Form 122A-1

Chapter 7 Statement of Your Current Monthly Income

12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)

with this form.
Goa Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
WA not married. Fill out Column A, lines 2-11.
L) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
C] Married and your spouse is NOT filing with you. You and your spouse are:

Q Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.

QO Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write

$0 in the space.

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
deductions).

3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
is filled in.

4. All amounts from any source which are regularly paid for household expenses of you or
your dependents, including child support. Include regular contributions from an
unmarried partner, members of your household, your dependents, parents, and
roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
not include payments you listed on line 3.

5. Netincome from operating a business, profession,

or. farm Debtor 1 Debtor 2
Gross receipts (before all deductions) $44,103.67
Ordinary and necessary operating expenses = $43,361.07 -
$742.60 co”
Net monthly income from a business, profession, or farm here
6. Netincome from rental and other real property Debtor 41 Debtor 2
Gross receipts (before all deductions) $0.00
Ordinary and necessary operating expenses - $0.00 -
$0.00 Copy
Net monthly income from rental or other real property

7. Interest, dividends, and royalties

Official Form 122A-1

Chapter 7 Statement of Your Current Monthly Income

Column A
Debtor 1

Column B
Debtor 2 or
non-filing spouse

$0.00

___ $0.00

___ $0.00

$742.60

$0.00
$0.00

page 1
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Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name
Column A Column B
Debtor 1 — Debtor 2 or
non-filing spouse
8. Unemployment compensation $0.00
Do not enter the amount if you contend that the amount received was a benefit
under
the Social Security Act. Instead, list it here: .......... i
$0.00
9. Pension or retirement income. Do not include any amount received that was a $0.00

benefit under the Social Security Act. Also, except as stated in the next sentence,
do not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If you received any
retired pay paid under chapter 61 of title 10, then include that pay only to the extent
that it does not exceed the amount of retired pay to which you would otherwise be
entitled if retired under any provision of title 10 other than chapter 61 of that title.

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
the United States Government in connection with a disability, combat-related
injury or disability, or death of a member of the uniformed services. If necessary,
list other sources on a separate page and put the total below.

Odd jobs/house cleaning $800.00
Total amounts from separate pages, if any. + +
11. Calculate your total current monthly income. Add lines 2 through 10 for —_ $1,542.60 + =| $1,542.60
each column. Then add the total for Column A to the total for Column B.
Total current
monthly income

Ce Determine Whether the Means Test Applies to You

12.

13.

14.

Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from line 11..........cscccccccecscesseececescececereccececsaceracecssceesevsearsessusesaveesane Copy line 11 here > $1,542.60
Multiply by 12 (the number of months in a year). X12

12b. The result is your annual income for this part of the form. 12b $18,511.20
L 11.

Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live. Texas
Fill in the number of people in your household. 1
Fill in the median family income for your state and size Of MOUSENOIG................2.s2scsscesseseeseececseeseeseesessessesnesssusissstsussnssssssassessessesseeeeese 13. $61,630.00

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

How do the lines compare?
14a. Wine 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Do NOT fill out or file Official Form 122A-2.

14b. Uine 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A—2.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2
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Debtor 1 Ernesto Garcia Case number (if known) 25-20076
First Name Middle Name Last Name

lie Sign Below

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.
xX /s/ Ernesto Garcia
Signature of Debtor 1

Date 04/03/2025
MM/ DD/ YYYY

If you checked line 14a, do NOT fill out or file Form 122A—2.
If you checked line 14b, fill out Form 122A—2 and file it with this form.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 3
